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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA

______________________________________

United States of America,

            Plaintiff,
                                                                 21 - CR - 399 (RDM)
       v.

Roman Sterlingov,

        Defendant.
______________________________________

Defendant Roman Sterlingov’s Opposition to Chainalysis’s Motion to Quash Subpoena Ad
   Testificandum for Chainalysis Co-Founder and CEO Michael Gronager – Dkt. 126


       Defendant Roman Sterlingov, through his attorneys, opposes Chainalysis’s Motion to

Quash the Subpoena Ad Testificandum for Michael Gronager’s testimony at the June 16 and

June 23, 2023, motions in limine and Daubert hearings. Mr. Gronager is a material fact witness

in this matter with unique, relevant, material, personal knowledge as to the inauthenticity of the

Mt. Gox data foundational to the Government’s case and other matters directly related to the

motions in limine and Daubert hearings. For the reasons argued below, this Court should deny

Mr. Gronager’s Motion to Quash or, in the alternative, bar any use at trial of the Mt. Gox data,

any evidence derived therefrom, and from the use of Chainalysis Reactor.

                                  PROCEDURAL POSTURE

       On May 5, 2023, the Defense served a subpoena ad testificandum on Mr. Gronager, co-

founder and CEO of Chainalysis Inc. (“Chainalysis”). It is not a subpoena duces tecum under

Federal Rule of Criminal Procedure 17(c) (“FRCrP”), as it only seeks testimony and not




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documents. The subpoena requires Mr. Gronager’s testimony at the June 16 and 23, 2023,

motions in limine and Daubert hearings.

         On May 19, 2023, counsel for Mr. Gronager and Chainalysis, William Frentzen, accepted

service of the subpoena ad testificandum via email to Defense counsel.1

         On May 23, 2023, Defense counsel met and conferred with Chainalysis’s counsel over

Zoom. Mr. Frentzen requested that Mr. Gronager be examined on the June 23, 2023, hearing

date, and Defense counsel agreed.

         On May 26, 2023, Mr. Frentzen filed a Motion to Quash on behalf of Mr. Gronager. This

opposition follows.

                                            LEGAL STANDARD

         Federal Rule of Criminal Procedure 17(a) governs subpoenas ad testificandum in

criminal proceedings. Subpoenas ad testificandum are requests for witness testimony and are not

requests for documents subject to FRCrP 17(c). FRCrP 17(a) provides the framework by which

counsel may request testimony in a criminal case. It does not differentiate between trial and pre-

trial testimony.

         Under FRCrP 17(a) testimonial subpoenas are issued without the court's involvement.2

There is no clear case law as to what the standards are for evaluating the validity of a subpoena

ad testificandum.

         Given the lack of standards for reviewing testimonial subpoenas courts look by analogy

to the standards for subpoenas duces tecum. The Watergate-era United States Supreme Court

case United States v. Nixon governs the document subpoena analysis.3 In Nixon, the Supreme


1
  See Ex. A.
2
  See Fed. R. Crim. P. 17(a), (c); see also United States v. Vo, 78 F. Supp. 3d 171 (D.D.C. 2015).
3
  United States v. Nixon, 418 U.S. 683 (1974) (affirming the District Court’s denial of a motion to quash under
FRCrP 17(c) and ordering pre-trial production of President Nixon’s tapes and documents).

                                                         2
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Court affirmed the District Court’s denial of a motion to quash a subpoena duces tecum for

President Nixon’s audio recordings and documents.4 In so doing, it held that “[a] subpoena for

documents may be quashed if their production would be ‘unreasonable or oppressive,’ but not

otherwise.”5 Concerned only with subpoenas duces tecum in criminal cases under FRCrP 17(c),

Nixon does not discuss standards for the analysis of subpoenas ad testificandum.6

                                             BACKGROUND

        The Government’s case relies heavily on data from the defunct Bitcoin exchange Mt.

Gox. In its Criminal Complaint, it prominently displays a diagram listing a multi-hop transaction

trace between Mt. Gox accounts, alleging that Mr. Sterlingov registered the domain name for

www.bitcoinfog.com.7




        The Government also uses the Mt. Gox data to attribute the online moniker “Akemashite

Omedetou” to Mr. Sterlingov. According to the Criminal Complaint, someone using the moniker

on BitcoinTalk.org chat forums claimed to be the owner and operator of Bitcoin Fog.8

        Mt. Gox operated between 2010 and 2014.9 Mt. Gox stands for “Magic the Gathering

Online Exchange” as it was initially created to trade Magic the Gathering game cards before


4
  Id. at 698.
5
  Id. (citing Bowman Dairy Co. v. United States, 341 U.S. 214 (1951)).
6
  See id. at 698-700.
7
  Dkt. 1 at 8.
8
  Id at 7.
9
  See e.g. Jake Frakenfield, What Was Mt. Gox? Definition, History, Collapse, and Future INVESTOPEDIA (May 30,
2023) https://www.investopedia.com/terms/m/mt-gox.asp.

                                                       3
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becoming one of the first Bitcoin exchanges, if not the first. Because it was the only viable

Bitcoin exchange in the early days of Bitcoin, as an early adopter of Bitcoin, Mr. Sterlingov had

an account with Mt. Gox.

        From its inception, Mt. Gox was a target for hackers and suffered serious information

security compromises.10 Additionally, in early 2014, Mt. Gox was hacked and hundreds of

millions of dollars of Bitcoin were stolen. This forced Tokyo-based Mt. Gox into bankruptcy.11

        In 2015, Mr. Gronager had just started Chainalysis alongside Jonathan Levin. He begins

working for the Mt. Gox bankruptcy trustees in Japan to see if he can trace the stolen Bitcoin.12

As part of his investigation, the trustees sent Mr. Gronager an encrypted thumb drive containing

data from Mark Karpelès, the CEO of Mt. Gox.13

        Mr. Karpelès has a history of data fraud. On May 14, 2010, the Crown Court of Paris,

after trying Mr. Karpelès in absentia, found him guilty of: (1) fraudulent access to a data

processing system; and (2) fraudulent changes to data contained in an automated data processing

system. The Crown Court sentenced him to one year of imprisonment.14

        In 2015, Mr. Karpelès was arrested in Tokyo. According to a statement from the Tokyo

Metropolitan Police Department, Mr. Karpelès “had ‘unjustly inflated the balance’ of an account

held under his name by manipulating transaction records on a system that Mt. Gox used to swap

Bitcoins for dollars,” and that “[h]e created false information that $1 million had been transferred




10
   Id.
11
   Id.
12
   Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022).
13
   Id.
14
   Crown Court of Paris, Portha et al. v. Karpeles, Case 0822491118, Verdict Passed May 14, 2010 (available at
https://www.documentcloud.org/documents/1227216-karpeles-english.html).

                                                        4
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into the account, when in fact it had not been”.15 In 2019, Mr. Karpelès was found guilty of

illegally altering Mt. Gox’s electronic records.16 He was sentenced to two-and-a-half years in

prison with a four-year suspension (meaning that if he committed no crimes within four years, he

would serve no more jail time).17 In June 2020, a Japanese high court affirmed the lower court’s

conviction.18 Upon information and belief Mr. Karpelès has been working closely with DOJ and

was also on the phone with Mr. Sterlingov’s arresting officer at the time of Mr. Sterlingov’s

arrest.

          Mr. Karpelès is the original and custodial source of the Mt. Gox data foundational to the

Government’s case. In 2015 Mr. Gronager met personally with Mr. Karpelès in Tokyo to discuss

the adulterations, manipulations, and deletions Mr. Gronager saw in the Mt. Gox data.19 Mr.

Gronager has unique, material, relevant, personal, direct knowledge of the inauthenticity of the

Mt. Gox records given to him and used by Chainalysis and the Government to wrongfully accuse

Mr. Sterlingov. As described by Andy Greenberg in his non-fiction book Tracers in the Dark:

The Global Hunt for the Crime Lords of Cryptocurrency:

                 Mt. Gox had, by the time of that meeting [between Mark Karpelès
                 and Michael Gronager], been bankrupt for nearly a year – a year
                 that Karpelès had spent under investigation by Japanese police
                 while also being accused of gross incompetence and even outright
                 theft by hordes of angry Bitcoin users. Gronager remembers that
                 the Frenchman seemed mildly disheveled, in need of a haircut, and
                 somewhat broken in spirit – “on hold,” as Gronager put it, resigned
                 to yet another meeting in the seemingly endless cycle of meetings


15
   Jonathan Soble, Mark Karpeles, Chief of Bankrupt Bitcoin Exchange, Is Arrested in Tokyo, NEW YORK TIMES
Aug 1, 2015 (last accessed June 6, 2023) https://www.nytimes.com/2015/08/02/business/dealbook/mark-karpeles-
mt-gox-bitcoin-arrested.html.
16
   Ben Dooley, Bitcoin Tycoon Who Oversaw Mt. Gox Implosion Gets Suspended Sentence, NEW YORK TIMES
(March 15, 2019) https://www.nytimes.com/2019/03/15/business/bitcoin-mt-gox-mark-karpeles-sentence.html.
17
   Id.
18
   Yuri Kageyama, Japan court backs Karpeles conviction for data manipulation, TECH XPLORE, (June 12, 2020),
https://techxplore.com/news/2020-06-japan-court-karpeles-conviction.html.
19
   Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022) at 103.

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                     that had become his life, all as a result of his company’s epic
                     downfall.

                     Weeks before, Gronager had received an envelope in the mail from
                     Mt. Gox’s trustees containing a single encrypted USB thumb drive.
                     The drive was supposed to contain all of Mt. Gox’s financial data,
                     including records of every trade made on the exchange in its four-
                     year history. But when he decrypted it, Gronager found it was
                     mysteriously incomplete. Many records of trades were missing the
                     “counterparty” – the buyer or seller on the other side of the deal –
                     and many more entries seem to have been deleted altogether.

                     When Gronager asked Karpelès about those missing entries,
                     Karpelès told him a strange story in his slightly clumsy, French-
                     accented English. In early 2014, he said, around the time of the
                     hacker breach that had stolen Mt. Gox’s entire treasury of bitcoins,
                     someone had physically broken into the exchange’s server room
                     and accessed its computers. The company hadn’t been able to
                     determine who the intruder was, but Karpelès suggested the break-
                     in was related to the theft and believed it had allowed the burglar
                     to delete the data that Gronager had found missing.

                     And, Gronager asked incredulously, didn’t the company have a
                     backup of that data? Karpelès said no, that the backup system
                     hadn’t worked either.

                     Gronager could see that Karpelès was almost certainly withholding
                     something, if not outright lying.20

            Additionally, according to the book, Mr. Gronager suspected Mr. Karpelès of falsifying

trades on Mt. Gox by using automated programs to create trades at artificially high prices,

“bolstering Bitcoin’s exchange rate, and making Mt. Gox seem more dominant in the Bitcoin

economy than it truly was.”21 Finally, the illegitimacy of the Mt. Gox data raises serious

questions about the accuracy of Chainalysis’s Reactor blockchain forensic software that uses the

Mt. Gox data.




20
     Id. at 103-4.
21
     Id. at 104.

                                                       6
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                                            ARGUMENT

           Mr. Gronager has unique, relevant, material, personal knowledge as to the inauthenticity

of the Mt. Gox database central to the Government’s case. The Defense seeks to exclude all Mt.

Gox data that the Government seeks to certify through the bankruptcy trustees because it lacks

integrity. Its source, Mr. Karpelès, was criminally convicted for fraudulently altering this data.22

Nowhere in its Criminal Complaint, the Superseding Indictment or its filings does the

Government disclose to the Court the serious problems with the integrity of the Mt. Gox data.

Instead, the Government represents to the Court that the data is authentic because the Japanese

Mt. Gox bankruptcy trustees certified the copy of the Mt. Gox data in their possession, which

they then gave to the Government.23 But that certification merely attests that the trustees did not

alter the data while it was in their possession; it does nothing to certify the authenticity of the

data as it was provided to the bankruptcy trustees by Mr. Karpelès. Mr. Gronager is a material

fact witness to the corrupt nature of the Mt. Gox data as given to the Mt. Gox bankruptcy

trustees. His personal knowledge, as expressed to Mr. Greenberg in extensive interviews for

Tracers in the Dark directly contradicts the Government’s claims that the Mt. Gox data is

authentic.


I.         Mr. Gronager is a Necessary Material Fact Witness to the Inauthenticity of the Mt.
           Gox Data Crucial to the Government’s Case

           Without the Mt. Gox data, and the conclusions the Government and Chainalysis have

drawn using that data, the case against Mr. Sterlingov collapses. The Criminal Complaint and the

subsequent Superseding Indictment depend heavily on the Mt. Gox database produced by

convicted data fraudster Mr. Karpelès. The Mt. Gox bankruptcy trustees never created the data at


22
     See Dkt. 59 and 71.
23
     See Dkt 62 at 20.

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question here in the regular course of business. They simply took possession of Mt. Gox’s data

from Mr. Karpelès after its creation following Mt. Gox’s collapse into bankruptcy.

        Mr. Gronager, in his extensive interviews with Mr. Greenberg, attests to the corruption

and lack of integrity of the Mt. Gox data. He is also, in his role as Chainalysis’s CEO, one of Mr.

Sterlingov’s primary accusers. Given Chainalysis’s heavy involvement in this investigation, not

only should the Court deny his motion to quash his testimony at the June 16 and 23, 2023,

hearings, it should deny his motion to quash the subpoena for his trial testimony.

        Mr. Gronager has chosen to speak extensively and publicly about critical evidence in this

case because it benefitted him financially by promoting his company - Chainalysis - that he starts

by working on the Mt. Gox bankruptcy.24 In so doing he demonstrates his unique, material,

relevant personal knowledge regarding the most important evidence in this case. His testimony

regarding the Mt. Gox data goes directly to its inauthenticity, and why this Court should exclude

it in its entirety.

        Chapter 17 of Tracers in the Dark titled “Noise” identifies, with specificity, the relevant

and material information possessed by Mr. Gronager that is central to establishing the

inauthenticity of the Mt. Gox records used by the Government to attribute operation of Bitcoin

Fog to Mr. Sterlingov. The data’s corruption and lack of integrity provides explanations as to

what led the Government to wrongfully accuse Mr. Sterlingov. False data produces false results.

Or worse, convicted data fraudster Mr. Karpelès wanted to divert attention to someone other than

himself. Perhaps it is no coincidence that Akemashite Omedetou is the Japanese phrase for




24
  Tracers in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Andy Greenberg, Doubleday
(2022) at 103-4.

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“Happy New Year”, and that Mt. Gox was located in Japan and operated by Mr. Karpelès from

Tokyo.25


II.     Mr. Gronager’s Counsel Accepted Service of the Subpoena Only to Later Reject
        Service of the Subpoena

        On May 17, 2023, counsel for Mr. Gronager and Chainalysis, Mr. William Frentzen of

Morriston & Foerster LLP, accepted service of the subpoena via email saying “Counsel, I am

authorized to accept service of a subpoena for Mr. Gronager. Please confirm ASAP if you need

him to appear for June 16 or for June 23 and for what purpose.”26 Subsequently, Defense counsel

had a Zoom call with Mr. Frentzen where he did not mention any issues with service.

        Now, belatedly, realizing the full scope of Mr. Gronager’s and Chainalysis’s potential

civil liability for malicious prosecution, false imprisonment, defamation, and other torts

implicated by Mr. Gronager’s and Chainalysis’s role in Mr. Sterlingov’s wrongful incarceration

and prosecution, he seeks to back-track on this acceptance of service. Mr. Gronager wants to

have his cake and eat it too.

        Mr. Gronager is now scared to speak about the very things he publicly spoke of in

marketing Chainalysis. He has voluntarily put himself in this position as a necessary material

fact witness in a federal criminal case where the Defendant is facing fifty years to life in prison.

He has profited from this case considerably as he and Chainalysis have used Mt. Gox and Mr.

Sterlingov’s case to help launch their now $8.6 billion company. Moreover, the fact that

Chainalysis is a private company does nothing to mitigate its, or Mr. Gronager’s, constitutional

obligations in their roles as private vendor government investigators. The Government cannot



25
   The Government refuses to accept a subpoena for Mr. Karpelès’s testimony despite having apparently worked
closely with Mr. Karpelès.
26
   Ex. A.

                                                       9
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hide from its constitutional obligations in a federal criminal case by using private vendors to do

work normally done in-house by FBI Cyber.

       The service of the subpoena is proper and Mr. Gronager’s counsel of record accepted its

service. Mr. Gronager’s counsel acknowledged service of the subpoena and spoke with Defense

counsel about scheduling Mr. Gronager’s testimony without ever stating that he was disputing

service of the subpoena.


III.   Counsel for Chainalysis and Mr. Gronager Mistakenly Apply the Standard for a
       Subpoena Duces Tecum to Mr. Gronager’s Subpoena Ad Testificandum

       Counsel for Mr. Gronager argues that Defense counsel failed to seek leave of the Court

prior to serving its subpoena. But Defense counsel does not need to seek leave of the Court to

serve a subpoena ad testificandum under FRCrP 17(a), which merely seeks Mr. Gronager’s

testimony at the upcoming June 2023 hearings. The standard Mr. Gronager’s counsel attempts to

apply from FRCrP 17(c) only applies to the pre-trial return of documents and information under

a subpoena duces tecum. As such Mr. Gronager’s argument on this point lacks all merit.

IV.    The Subpoena Ad Testificandum is Neither Unreasonable nor Oppressive

       Defense counsels’ subpoena ad testificandum is neither unreasonable nor oppressive. It

seeks no more than a few hours of testimony, on a single day in June in Washington D.C., about

a subject matter relevant and material to the inauthenticity of the Mt. Gox data and other issues

directly related to the motions in limine and Daubert hearings.

       Counsel for Mr. Gronager did not complain of any oppression or unreasonableness on his

conference call with Defense counsel. Rather, the point of the call was to make it convenient for

Mr. Gronager to testify at the hearing. At the end of the call, the parties agreed to call Mr.

Gronager on June 23, 2023. What is oppressive and unreasonable here is that an innocent man

has languished in jail for over two-and-a-half years pre-trial based on shoddy analysis founded

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on corrupt, inauthentic Mt. Gox data willfully manipulated by a convicted felon – Mr. Karpelès –

whose very conviction involves falsifying the data at issue. If Mr. Gronager wishes to make his

money by putting people in jail, then he can certainly suffer the minor inconvenience of

testifying in federal criminal court.

           Mr. Gronager knowingly and willfully entered the law enforcement market seeking

profits and actively marketed both himself and Chainalysis to the Government as experts in the

newly emergent field of blockchain forensics. Mr. Gronager is heavily involved in the case

against Mr. Sterlingov, and it should come as no surprise to him that he is being summoned for

testimony in a case where he is a unique, material fact witness. He has years of knowledge that

the Government’s proffered expert, Elizabeth Bisbee of Chainalysis - who is a newcomer to this

case - does not have.

           There is no one else apparent who can testify to the inauthenticity of the Mt. Gox data

other than Mr. Gronager and Mr. Karpelès. Mr. Gronager also knows whether this tainted data

poisons Chainalysis’s Reactor software from the company’s inception. The inauthentic,

adulterated Mt. Gox data’s potential incorporation into Chainalysis Reactor puts the legitimacy

and accuracy of Chainalysis’s proprietary black-box blockchain forensic software in question.

There is nothing unreasonable in questioning Mr. Gronager about his relevant, personal, material

knowledge regarding the integrity of the Mt. Gox data and issues directly related to the motions

in limine and Daubert hearings. The Defense has no constitutional obligation to disclose the

specifics of the testimony it seeks under a criminal subpoena ad testificandum, quite the

opposite.27




27
     See U.S. CONST. amends. V, VI.

                                                   11
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                                         CONCLUSION

       The Court should deny Mr. Gronager’s motion to quash his subpoenaed testimony at the

June 16 and 23, 2023, motions in limine and Daubert hearings. As documented by his public

comments published in Tracers in the Dark, Mr. Gronager possesses unique, material, relevant

knowledge regarding the Mt. Gox database that is foundational to the Government’s case. That

Chainalysis is the “Theranos of Blockchain analysis” has nothing to do with the Defense’s

subpoena of Mr. Gronager. Mr. Gronager willfully entered this space in the hopes of profiting

from lucrative contracts with the United Stated Department of Justice. In so doing, he gained

unique, material, relevant knowledge regarding matters in this case, in his and Chainalysis’s

roles as private vendor government investigators, that no one else can testify to. He cannot now

complain that the very situation he worked so hard to create is unreasonable and oppressive.

       This Court should deny Mr. Gronager’s motion to quash in its entirety and order him to

appear at the June motions in limine and Daubert hearings, as well as deny his motion to quash

the subpoena for his trial testimony. In the alternative, the Court should exclude any use at trial

of the Mt. Gox data, any evidence derived therefrom, and any evidence derived from the use of

Chainalysis Reactor.




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Dated: June 6, 2023
New York, New York


                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of June 2023, the forgoing document was filed with

the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                           s/ Tor Ekeland

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